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        Palestinian boy looks out of his damaged house after a ceasefire was declared, In the east of Khan Younis in the
        southem Gua Strip, Aug27, 2014. The open-ended ceasefire in the Gua war between Israel and the Palestinians held on
        Wednesday as Prime Minister Benjamin Netanyahu faced strong criticism in his country's newspapers over a campaign in
        which no clear victor emerged. [Photo/Agencies)


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               accepted an Egyptian proposal for a Gaza ceasefire, a senior Israeli olf!Clal said on Tuesday Egyptian and Palestinian officials
               said the truce was to take effect at 7 pm (1600 GMT). [Photo/Agencies]


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            Palestinians held on Wednesday, Aug 27. 2014 [Photo/IC]


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             Hamas mititants display weapons as they celebtate what they say was a victory over lsntel, in trent ole destroyed house 111 the
             Shejllie neighbomood east of Gaza City, Aug 27 2014. (Photo/Agencies]


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             Palestinians sit on a couch as !hay ratum to the remains of their house, which W1lnesses said was destroyed in an Israeli
             offensive, after a caasefire was declared. in the east of Gaza City, Aug 27, 20t4. [Photo/Agencies)


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             A Palestinian boy sits atop a car loaded With his famHy's belongings near their house, which Witnesses said was hit by an
             Israeli air strike, in Rafah in the southern Gaza Strip, AI.Jg 26, 2014 (Photo/Agencies)


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               Palestinians sit In a damaged house as they watch Hamas miklants celebrating what they say was a viciOI'f over Israel, in the
               Shejaia neighboltlood east of Gaz.a City, Aug 27. 2014 (Photo/Agencies]
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            tsraers Prime Minister Benjamin Nelanyahu (C), Israeli ml~lary chief Lieutenant-General Benny Gantt (l) and Defence Minister
            Moshe Yaalon attend a news conference at the prime ministers office in Jerusalem. Aug 27, 2014 (Photo/Agenc:ies]




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  Inside bombed-out Gaza: One week on from end of 50-day war and the true scale of deva... Page 1 of 15



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  Inside bombed-out Gaza: One week on from end of
  50-day war and the true scale of devastation is
  revealed
  • Families in Gaza return to their devastated homes a week after ceasefire stopped the 50-day war with Israel
  • Attacks damaged or destroyed thousands of Gaza homes with an estimated 250,000 people taking refuge in
    schools
  • Hamas and other Gaza militants fired 4,591 rockets and mortars at Israeli cities during the fighting, mostly in
    the south. The Israeli military, meanwhile, carried out more than 5,000 airstrikes and other attacks
  • Palestinian militants from the Popular Front for the Liberation Of Palestine take part in a rally a week after
    cease-fire

  By JAMES RUSH FOR MAILONLINE and ASSOCIATED PRESS
  PUBLISHED: 0 8:46 EDT. 2 September 20 14 1UPDATED: 10:15 EDT, 2 September 2014


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  As a bombed-out neighbourhood lies in a mass of broken stone and twisted metal in the background, a young boy
  sits amid the rubble of what was once his home in Gaza.

  These images reveal the startling reality of life in the area following the 50-day war with Israel as the region begins
  to recover from the fighting.

  A week after a cease-fire halted the war, families in Gaza have been returning to their homes shelled by Israel
  during Operation Protective Edge.

  Israel and Hamas agreed to an open-ended truce last Tuesday. The ceasefire brought an immediate end to the
  fighting but left key issues unresolved, such as Hamas' demand for the lifting of an Israel-Egyptian blockade of
  Gaza and the reopening of Gaza's air and seaports.




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  A boy sits amid the rubble of his destroyed house on Monday in the Gaza Strip. Local residents visited their house that was
  shelled by Israel during Operation Protective Edge, in the Shejaia neighbourhood, east of Gaza City




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  These images reveal the startling reality of life in Gaza after the 50-day war with Israel as the region begins to recover from
  the fighting




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  Palestinians gather around a fire amid the rubble of their destroyed house in the Gaza Strip. Israel and Hamas agreed to an
  open-ended truce last Tuesday

  Israel wants Hamas to disarm and the return of bodies of two Israeli soldiers killed in the war. A new round of
  indirect talks is expected to begin later this month in Egypt.

  The war killed more than 2,100 Palestinians, three-quarters of whom were civilians and at least 494 children,
  according to Palestinian and U.N. estimates. Israel disputes the figures and estimates that at least half of those
  killed were militants, though it has not provided firm evidence to back its claims. On t he Israeli side, 66 soldiers
  and six civilians, including a Thai worker, were killed.

  Hamas and other Gaza militants fired 4,591 rockets and mortars at Israeli cities during the fighting, mostly in the
  south. The Israeli military, meanwhile, carried out more than 5,000 airstrikes and other attacks.

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  The Israeli attacks damaged or destroyed thousands of homes in Gaza, and an estimated 250,000 people took
  refuge in more than 100 U.N. schools turned into makeshift shelters. With tens of thousands of people still in the
  shelters and fighting still raging, education officials delayed the start of the school year last week.

  Ziad Thabet, a Gaza Education Ministry official, said classes in the strip are set to begin on September 14. The U.N.
  said most of the displaced were to be evacuated to temporary housing by yesterday afternoon, but Thabet said
  the schools need to undergo repairs before they can be used.




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  At least 223 Gaza schools, either run by the U.N. refugee agency or the Hamas government, were hit in the
  fighting, including 25 that are too damaged for use. Israel has accused Hamas of using civilian buildings such as
  schools for military purposes.




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  The ceasefire brought an immediate end to the fighting but left key issues unresolved, such as Hamas' demand for the lifting
  of an Israel-Egyptian blockade of Gaza and the reopening of Gaza's air and seaports




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  Hamas and other Gaza militants fired 4,591 rockets and mortars at Israeli cities during the fighting, mostly in the south. The
  Israeli military, meanwhile, carried out more than 5,000 airstrikes and other attacks


  Meanwhile, Palestinian militants from the Popular Front for the Liberation Of Palestine took part in a rally on
  Monday, a week after the beginning of the Egypt-mediated ceasefire.

  An opinion poll released today found the popularity of the Hamas militant group had spiked significantly among
  Palestinians in the West Bank and the Gaza Strip following the war.

  The poll, conducted by the Palestinian Center for Policy and Survey Research and headed by leading Palestin ian
  pollster Khalil Shikaki, indicated that 61 per cent of Palestinians would choose the Islamic militant group's leader,
  Ismail Haniyeh, for president if Palestinian presidential elections were held today.

  Only 32 per cent would vote for current President Mahmoud Abbas, Hamas' rival, the survey suggested.




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  A masked Palestinian militant of the Popular Front for the Liberation of Palestine (PFLP), holds up his rifle on Monday in Gaza
  City during a rally held a week after the Egypt-mediated ceasefire between Israel and Hamas




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  An opinion poll released today found the popularity of the Hamas militant group had spiked significantly among Palestinians
  in the West Bank and the Gaza Strip following the war. Pictured is a masked Palestinian militant of the Popular Front for the
  Liberation of Palestine (PFLP).


  The support for Haniyeh marks a stark increase from a poll in June, conducted by the same pollster, which found
  only 41 per cent of Palestinians backed the Hamas figure. At the time, Abbas had 53 percent support.

  The poll also suggests a majority of Palestinians- 72 per cent- support adopting Hamas' armed approach in the
  West Bank.

  The research center said it is the first time in eight years that a majority of Palestinians has voiced such support for
  the Hamas leader. But, it said, Hamas' popularity might fall in coming months, as it did following previous lsraei-
  Hamas conflicts.

  Polling started on the last day of the war, on August 26, and continued during the first four days of the ceasefire,
  the research center said.

  The poll said 79 per cent of respondents believe Hamas won the war, and 86 per cent support the renewal of
  rocket fire on Israel if a blockade on Gaza is not lifted, one of Hamas' main demands.




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  Palestinian militants from the Popular Front for the Liberation of Palestinian (PFLP) take part in a military show in Gaza City on
  Tuesday




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  Israeli Finance Minister Yair Lapid criticized Israel's expropriation of West Bank land announced this week, calling for 'a more
  reasoned approach' in Israeli diplomacy following Israel's military operation in Gaza. Pictured are Palestinian militants from
  the Popular Front for the Liberation of Palestinian (PFLP)

  But 25 per cent said armed groups in the Gaza Strip should give up their weapons after the blockade ends and
  elections are held.

  Also today, Israeli Finance Minister Yair Lapid criticized Israel's expropriation of West Bank land announced this
  week, calling for 'a more reasoned approach' in Israeli diplomacy following Israel's military operation in Gaza.

  The expropriation of about 1,000 acres of West Bank land could help clear the way for new Jewish settlement
  construction. Lapid said such moves create 'redundant arguments with the United States and the world' and
  c riticized the timing of the announcement following the Gaza war. Israel's Justice Minister, Tzipi Livni, also
  criticized the move this week.

  Other leading Israeli Cabinet ministers have criticized Prime Minister Benjamin Netanyahu's conduct in the
  recently concluded war, with many saying he did not go far enough to neutralize Hamas's fighting ability.




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  Palestinian Sheikh Hazem AI-Bakri (left) from the Islamic Society walks through a dairy factory after it was demolished by
  Israeli authorities in the Israeli occupied West Bank city of Hebron on Tuesday. Israeli authorities destroyed the dairy factory
  because of the reported link to Hamas through the Islamic Society




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  Men walk through the Islamic Society dairy factory after it was demolished by Israeli authorities in the Israeli occupied West
  Bank city of Hebron




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  Israeli authorities and military demolish an Islamic Society dairy factory in the Israeli occupied West Bank city of Hebron

  Netanyahu has spoken vaguely about a new 'diplomatic horizon' that has emerged following the 50-day lsraei-
  Hamas war. He has given few details on what he means.

  But Netanyahu has said that he is not willing to renew peace talks with Abbas, saying the Palestinian leader will
  have to first distance himself from Hamas militants. Hamas and Abbas' Palestinian Authority recently agreed to a
  unity deal that saw the formation of a government backed by both factions.

  'He has to choose,' Netanyahu told Israeli Channel Two in a weekend interview. 'It's either yes to Hamas or no to
  Hamas.'

   ISRAELI CHILDREN RETURN TO CLASSES WHILE SCHOOLS IN GAZA REMAIN SHUTTERED
   AS AREA RECOVERS
   Thousands of Israeli children in areas near the Gaza Strip went back to school on Monday after spending the
   summer in bomb shelters as rockets and mortars rained on their communities during the 50-day lsraei-Hamas
   war, while schools in Gaza remained shuttered as the territory recovered from the fighting.

   The start of school brought a sense of joy and excitement to rocket-scarred communities in southern Israel, but
   the signs of the fighting remained fresh. In the southern city of Ashdod, employees at the 'Pashosh' kindergarten,
   which was struck by a rocket, removed shrapnel marks off the walls and slides ahead of the students' arrival.

   'We are a little scared but we are excited,' said Ronit Bart, a resident of Kibbutz Saad and an English teacher in its
   school. 'A lot of children in our area really need to go back to a routine.'




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   In Gaza, Israeli attacks damaged or destroyed thousands of homes, and an estimated 250,000 people took
   refuge in more than 100 U.N. schools turned into makeshift shelters. With tens of thousands of people still in the
   shelters and fighting still raging, education officials delayed the start of the school year last week.

   Ziad Thabet, a Gaza Education Ministry official, said classes in the strip are set to begin on September 14. The
   U.N. said most of the displaced were to be evacuated to temporary housing by Monday afternoon, but Thabet
   said the schools need to undergo repairs before they can be used.

   At least 223 Gaza schools, either run by the U.N. refugee agency or the Hamas government were hit in the
   fighting, including 25 that are too damaged for use. Israel has accused Hamas of using civilian buildings such as
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            Haram is lhe Best. High Wycombe, United Kingdom, 2 years ago

            Maybe they will want to use building materials to re-build houses, schools, hospitals etc. instead of tunnels into Israel, but I doubt that will ever happen. When
            you see these people in their rubble, remember how they cheered on 9/11 . No tears from me.


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            Ck1 , Dubai, United Arab Emirates, 2 years ago

            Hamas caused all this!


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            watermanV, Venice, United Kingdom, 2 years ago

            What Israel has done to Gaza is beyond criminal. There EU should have sanctions against them not Russia


                                                                                                                                           Click to rate        32          41

            brian r, great bookham, 2 years ago

            the defenceless" Palestinians fired 4591 rockets at Israel, Israel made 5000 strikes back, !hats about even steven if you ask me, The deaths and damage
            can be laid in the main at the door of Hamas, they continually attack Israel and Israel strikes back. But harder. Israel looks after its own. unlike this country




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    where if you attack you are rewarded. Why don't they try political method. peace and continual negotiation, If that doesn't work then the world might be more
    amenable to them.


                                                                                                                                                 Click to rate          35    21

               Leonard54, Bourgogne, France, 2 years ago

               If the Palestinians got rid of their Islamic militants this would never happen. Israel wants peace, Hamas wants another Holocaust.....just read their own
               manifesto.


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               Red Dragon, Vale of Glamorgan, United Kingdom. 2 years ago

               Victory? If that's victory, I dread to think what defeat looks like!


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               null, 2 years ago

               When Israel left Gaza and gave it to the Palestinians for peace, Palestinians who thanked them by firing 10,000 rockets at Israeli civilians. The Israelis were
               intelligent enough to build the Iron Dome. The Palestinians used all their Foreign Aid to build tunnels in to Israel and buy arms. As they have said "they want
               to annihilate Israel". And the UK and Europe.


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               Jon Sims, Ningbo, China, 2 years ago

               Israel and Egypt blockade Gaza because the government are terrorists. Get rid of Hamas and Gaza will succeed.


                                                                                                                                                            Click to rate    32       13

               thenervoussurgeon, Pattaya, Thailand, 2 years ago

               They voted for Hamas to lead them ,you sow the wind ,you reap the whirlwind.


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               God bless Israel


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